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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE TWITTER, INC. SHAREHOLDER                     Case No. 16-cv-06136-JST

                                   8     DERIVATIVE ACTION
                                                                                             ORDER TRANSFERRING VENUE
                                   9
                                                                                             Re: ECF No. 39
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                                  12
Northern District of California
 United States District Court




                                  13           Pursuant to the parties’ stipulation, this consolidated derivative action is transferred to the

                                  14    United States District Court for the District of Delaware. 28 U.S.C. § 1404(a).

                                  15           The Court denies without prejudice the parties’ request to set a briefing schedule on their

                                  16    anticipated motion to stay. The parties may ask the Delaware District Court to set such a schedule

                                  17    following transfer.

                                  18           IT IS SO ORDERED.

                                  19    Dated: January 5, 2018
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                                                                                                       JON S. TIGAR
                                  21                                                             United States District Judge

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